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 5
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 6

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 8
                       IN THE UNITED STATES DISTRICT COURT FOR THE
 9
                                EASTERN DISTRICT OF CALIFORNIA
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11                                                  )
     UNITED STATES OF AMERICA,                      )       Case No.: 1:06-cr-00059 AWI
12                                                  )
                   Plaintiff,                       )
13                                                  )       STIPULATION REGARDING
            vs.                                     )       SENTENCING AND BRIEFING
14                                                  )       SCHEDULE
     FRANCHESKA BRIZAN,                             )
15                                                  )
                   Defendant                        )
16
            IT IS HEREBY STIPULATED by and between Jeffrey T. Hammerschmidt, attorney for
17
     defendant FRANCHESKA BRIZAN, and Karen Escobar, Assistant United States Attorney, that
18
     the sentencing hearing be continued from July 25, 2011, at 1:30 p.m., to August 29, 2011, at
19
     11:00 a.m. IT IS FURTHER STIPULATED that Defendant’s Sentencing Brief is due August
20
     14, 2011, by 4:00 p.m., and the Government’s Response is due August 21, 2011, by 4:00 p.m.
21

22   Dated: July 13, 2011                                     Respectfully submitted,
23
                                                              /s/ Jeffrey T. Hammerschmidt
24                                                            Jeffrey T. Hammerschmidt
                                                              Attorney for Defendant,
25
                                                              Francheska Brizan
26

27   Dated: July 13, 2011                                     /s/ Karen Escobar
                                                              Karen Escobar
28
                                                              Assistant U.S. Attorney



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 9                                    IN THE UNITED STATES DISTRICT COURT FOR THE

10                                             EASTERN DISTRICT OF CALIFORNIA

11
                                                                )
12   UNITED STATES OF AMERICA,                                  ) Case No.: 1:06-cr-00059 AWI
                                                                )
13                                Plaintiff,                    )
                                                                )
14                         vs.                                  )
                                                                )
15   FRANCHESKA BRIZAN,                                         )
                                                                )
16                                Defendant                     )
17

18                                                           ORDER
19                         IT IS ORDERED that the July 25, 2011 sentencing date be vacated.
20                         IT IS ORDERED that the sentencing will now occur on August 29, 2011 at 11:00 a.m.
21

22

23
     IT IS SO ORDERED.

24   Dated: July 13, 2011
                                                       CHIEF UNITED STATES DISTRICT JUDGE
25   DEAC_Signature-END:




26   0m8i788

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